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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Howard Cohan,                                 )
                                              )
       Plaintiff,                             )                 Case No. 16-cv-2001
                                              )
vs.                                           )                 Injunctive Relief Sought
                                              )
Bask Development, Inc., d/b/a                 )
Comfort Suites Elgin,                         )
                                              )
       Defendant(s).                          )

                                          COMPLAINT

       Plaintiff, HOWARD COHAN (“Plaintiff”), by and through undersigned counsel, hereby

files this Complaint and sues BASK DEVELOPMENT, INC., d/b/a COMFORT SUITES

ELGIN (“Defendant”) for declaratory and injunctive relief, attorneys’ fees, expenses and costs

(including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. §12182 et. seq.,

and the 2010 Americans with Disabilities Act (“ADA”) and alleges as follows:


                                JURISDICTION AND VENUE

       1.      This Court is vested with original jurisdiction over this action pursuant to 28

U.S.C. §§1331 for Plaintiff’s claims arising under Title 42 U.S.C. §12182 et. seq., based on

Defendant’s violation of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as

the 2010 ADA Standards.

       2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all events

giving rise to the lawsuit occurred in Kane County, Illinois.

                                              PARTIES

       3.      Plaintiff, HOWARD COHAN is a resident of the state of Florida residing in Palm

Beach County, Florida, and is otherwise sui juris.

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        4.       Upon information and belief, Defendant is the lessee, operator, owner and lessor

of the Real Property, which is subject to this suit, and is located at 2480 Bushwood Driver, Elgin,

Illinois, 60123 (“Premises”) and is the owner of the improvements where the Premises is located.

        5.       Defendant is authorized to conduct, and is in fact conducting, business within the

state of Illinois.

        6.       Plaintiff is an individual with numerous disabilities including spinal stenosis,

which causes a restriction to his spinal canal, resulting in a neurological deficit. At the time of

Plaintiff’s initial visit to the Premises November 7, 2014 and his subsequent visit on September

1, 2015, (and prior to instituting this action), Plaintiff suffered from a “qualified disability” under

the ADA and required the use of a handicap parking space, parking access aisle and the use of a

lift for pool and Jacuzzi accessibility. Plaintiff personally visited the Premises, but was denied

full and equal access and full and equal enjoyment of the facilities, services, goods, and

amenities within the Premises, even though he would be classified as a “bona fide patron”.

        7.       Plaintiff will avail himself of the services offered at the Premises in the future,

provided that Defendant modifies the Premises or modifies the policies and practices to

accommodate individuals who have physical disabilities.

        8.       Completely independent of his personal desire to have access to this place of

public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

purpose of discovering, encountering and engaging discrimination against the disabled in public

accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

personally visits the public accommodation; engages all of the barriers to access, or at least of

those that Plaintiff is able to access; tests all of those barriers of access to determine whether and

the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such



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discrimination; and subsequently returns to the Premises to verify its compliance or non-

compliance with the ADA and to otherwise use the public accommodation as members of the

able-bodied community are able to do. Independent of other subsequent visits, Plaintiff also

intends to visit the Premises regularly to verify its compliance or non-compliance with the ADA,

and its maintenance of the accessible features of the Premises. In this instance, Plaintiff, in

Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered barriers to

access at the Premises, and engaged and tested those barriers, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

and the ADA violation set forth herein. It is Plaintiff’s belief that said violation will not be

corrected without Court intervention, and thus Plaintiff will suffer legal harm and injury in the

near future.

                VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

       9.       Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 8

above as if fully stated herein.

       10.      On July 26, 1990, Congress enacted the Americans With Disabilities Act

(“ADA”), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half (1.5)

years from enactment of the statute to implement its requirements. The effective date of Title III

of the ADA was January 26, 1992, or January 26, 1993 if Defendant(s) have ten (10) or fewer

employees and gross receipts of $500,000.00 or less. See 42 U.S.C. §12182; see also 28 C.F.R.

§36.508(a).

       11.      Congress found, among other things, that:

             a. some 43,000,000 American have one or more physical or mental disabilities, and

                this number shall increase as the population continues to grow older;



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             b. historically, society has tended to isolate and segregate individuals with

                disabilities and, despite some improvements, such forms of discrimination against

                disabled individuals continue to be a pervasive social problem, requiring serious

                attention;

             c. discrimination against disabled individuals persists in such critical areas as

                employment, housing, public accommodations, transportation, communication,

                recreation, institutionalization, health services, voting and access to public

                services and public facilities;

             d. individuals with disabilities continually suffer forms of discrimination, including

                outright intentional exclusion, the discriminatory effects of architectural,

                transportation, and communication barriers, failure to make modifications to

                existing facilities and practices. Exclusionary qualification standards and criteria,

                segregation, and regulation to lesser services, programs, benefits, or other

                opportunities; and

             e. the continuing existence of unfair and unnecessary discrimination and prejudice

                denies people with disabilities the opportunity to compete on an equal basis and to

                pursue those opportunities for which our country is justifiably famous, and

                accosts the United States billions of dollars in unnecessary expenses resulting

                from dependency and non-productivity.

42 U.S.C. §12101(a)(1)-(3),(5) and (9).

       12.      Congress explicitly stated that the purpose of the ADA was to:

             a. provide a clear and comprehensive national mandate for elimination of

                discrimination against individuals with disabilities;



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              b. provide clear, strong, consistent, enforceable standards addressing discrimination

                 against individuals with disabilities; and

              c. invoke the sweep of congressional authority, including the power to enforce the

                 fourteenth amendment and to regulate commerce, in order to address the major

                 areas of discrimination faced on a daily basis by people with disabilities.

42 U.S.C. §12101(b)(1)(2) and (4).

        13.      Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

provides services to the general public and must be in compliance therewith. The Premises,

which is the subject of this action, is a public accommodation covered by the ADA and which

must be in compliance therewith.

        14.      Defendant has discriminated and continues to discriminate against Plaintiff and

others who are similarly situated, by denying access to, and full and equal enjoyment of goods,

services, facilities, privileges, advantages and/or accommodations located at the Premises, as

prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).

        15.      Plaintiff has visited the Premises and has been denied full and safe equal access to

the facilities and therefore suffered an injury in fact.

        16.      Plaintiff intends to return and enjoy the goods and/or services at the Premises on a

spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by Defendant’s

failure and refusal to provide persons with disabilities with full and equal access to its facilities at

the Premises. Therefore, Plaintiff continues to suffer from discrimination and injury due to the

architectural barriers that are in violation of the ADA.



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       17.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General promulgated Federal Regulations to

implement the requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA

Standards ADA Accessibility guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part

36, under which said Department may obtain civil penalties of up to $55,000.00 for the first

violation and $110,000.00 for each subsequent violation.

       18.      Defendant is in violation of 42 U.S.C. §12182 et. seq. and the 2010 American

Disabilities Act Standards et. seq., and is discriminating against Plaintiff as a result of, inter alia,

the following specific violations:

             a. Failing to provide a means of entry at the pool as required for persons with a

                disability such as a pool lift chair, sloped entry, transfer wall or transfer platform

                in violation of 2010 ADAAG §§242, 242.1, 242.2 and 1009, whose resolution is

                easily achievable, whose resolution is readily achievable.

             b. Failing to provide a passenger loading zone with an access aisle marked with

                striping in violation of 2010 ADAAG §§209, 209.1, 209.4, 503, 503.1, 503.3 and

                503.3.3 whose resolution is readily achievable.

       19.      Defendant is in violation of 42 U.S.C. §12182 et. seq. and the 2010 American

Disabilities Act Standards et. seq., and are discriminating against Plaintiff as a result of, inter

alia, the following specific violations found in the Men’s Restroom need more particularly

described below 1:




1
 It is believed these same violations are present in the Women’s Restroom. However, due to
Mr. Cohan’s gender same could not be confirmed by Plaintiff.
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    a. Failing to provide the proper insulation or protection for the plumbing under a

       sink or countertop in violation of 2010 ADAAG §§606 and 606.5, whose

       resolution is readily achievable.

    b. Providing grab bars of improper horizontal length or spacing on the back or side

       wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609 and 609.4,

       whose resolution is readily achievable.

    c. Failing to provide grab bars at 33 inches minimum and 36 inches maximum above

       the finished floor measured to the top of the gripping surface in violation of 2010

       ADAAG §§604, 609 and 609.4, whose resolution is readily achievable.

    d. Failing to provide toilet paper dispensers in the proper position in front of the

       water closet or at the correct height above the finished floor in violation of 2010

       ADAAG §§604, 604.7 and 309.4, whose resolution is readily achievable.

    e. Failing to provide a coat hook within the proper reach ranges for a person with a

       disability in violation of 2010 ADAAG §§603, 603.4 and 308, whose resolution is

       readily achievable.

    f. Failing to provide mirror(s) located above lavatories or countertops at the proper

       height above the finished floor in violation of 2010 ADAAG §§603 and 603.3,

       whose resolution is readily achievable.

    g. Failing to provide paper towel dispenser at the correct height above the finished

       floor in violation of 2010 ADAAG §§606, 606.1 and 308, whose resolution is

       readily achievable.




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             h. Failing to provide the water closet in the proper position relative to the side wall

                or partition in violation of 2010 ADAAG §§604 and 604.2, whose resolution is

                readily achievable.

       20.      To the best of Plaintiff’s belief and knowledge, Defendant has failed to eliminate

the specific violations set forth in paragraphs 18 and 19 above.

       21.      Although Defendant is charged with having knowledge of the violations,

Defendant may not have actual knowledge of said violations until this Complaint makes

Defendant aware of same.

       22.      To date, the readily achievable barriers and violations of the ADA still exist and

have not been remedied or altered in such a way as to effectuate compliance with the provisions

of the ADA.

       23.      Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant

was required to make the establishment a place of public accommodation, accessible to persons

with disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant

has failed to comply with this mandate.

       24.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

Defendant, pursuant to 42 U.S.C. §12205.

       25.      The above violations are readily achievable to modify in order to bring the

Premises or the Facility/Property into compliance with the ADA.

       26.      In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG

standard applies to the violations listed in paragraph 18 above.




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       27.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff’s injunctive relief, including an order to alter the Premises to make them readily

accessible to and useable by individuals with disabilities to the extent required by the ADA and

closing the Premises until the requisite modifications are completed.

       WHEREFORE, Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

             1. This Court declare that the Premises owned, operated and/or controlled by

                Defendant is in violation of the ADA;

             2. This Court enter an Order requiring Defendant to alter its facilities to make them

                accessible to and usable by individuals with disabilities to the full extent required

                by Title III of the ADA;

             3. This Court enter an Order directing Defendant to evaluate and neutralize its

                policies, practices and procedures toward persons with disabilities, for such

                reasonable time so as to allow Defendant to undertake and complete corrective

                procedures to the Premises;

             4. This Court award reasonable attorney’s fees, all costs (including, but not limited

                to the court costs and expert fees) and other expenses of suit to the Plaintiff; and

             5. This Court award such other and further relief as it may deem necessary, just and

                proper.



                                                       On Behalf of Plaintiff,

                                                       /s/ Ivo Tchernev
                                                       Ivo Tchernev, Esq.
                                                       Law Offices of Jacobson and Tchernev, Ltd.
                                                       33 N. Dearborn St., Suite 1907

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